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                      UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION
__________________________________________
                                           )
STATE OF TEXAS,                            )
                                           )
                        Plaintiff,         )
      v.                                   )   No. 6:21-cv-00003
                                           )
UNITED STATES OF AMERICA, et al.           )
                                           )
                        Defendants.        )
__________________________________________)

                DEFENDANTS’ RESPONSE TO PLAINTIFF’S ADVISORY


       On January 24, 2021, Texas submitted an Advisory informing the Court of an “opinion” piece

from a news network that claimed ICE was releasing noncitizens from detention in Texas.

Undersigned counsel has conferred with officials at DHS, who advise that ICE has released a group

of noncitizens with removal orders who did not meet any of the exceptions to the 100-day pause. ICE

reports that the released individuals are part of a certified class in separate litigation, in which an

injunction requires class members with specified COVID risk factors to be released. 1 See generally

Fraihat v. U.S. Immigration & Customs Enf’t, 445 F. Supp. 3d 709 (C.D. Cal. 2020), order clarified, No.

EDCV191546JGBSHKX, 2020 WL 6541994 (C.D. Cal. Oct. 7, 2020).

       These releases of noncitizens do not cause Texas irreparable harm; the releases were consistent

with the authority DHS had prior to the issuance of the challenged Memorandum and any claim of

injury by Texas remains speculative. Texas’s argument is based on their implicit suggestion that the

Immigration and Nationality Act mandates the detention of aliens subject to final orders of removal

that have not yet been executed. See Advisory at 1–2 (ECF No. 6). Texas’s understanding of



1Undersigned counsel have not been advised of any additional groups of noncitizens released by
ICE or whether CBP has released any non-citizens.
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immigration law is incorrect. Title 8 U.S.C. § 1231 governs the detention of aliens who are subject to

final orders of removal. Section 1231(a) makes detention mandatory only for the initial 90-day removal

period, see 8 U.S.C. § 1231(a)(2); after that period, the government “may”—not must—detain the alien.

8 U.S.C. § 1231(a)(6). Even within the 90-day removal period, moreover, the statute makes detention

mandatory only for certain criminal and terrorist aliens, not for aliens in general. The relevant

provision contains two sentences: “During the removal period, the [Secretary of Homeland Security]

shall detain the alien. Under no circumstance during the removal period shall the [Secretary] release

[certain terrorist and criminal aliens].” 8 U.S.C. § 1231(a)(2) (providing that “release” is unavailable for

aliens “who ha[ve] been found inadmissible under section 1182(a)(2) or 1182(a)(3)(B) of this title or

deportable under section 1227(a)(2) or 1227(a)(4)(B) of this title” only).

        As explained in Defendant’s opposition to Plaintiff’s emergency application for a temporary

restraining order, the word “shall” does not alter an agency’s unreviewable prosecutorial discretion.

Opp’n at x (ECF No. x) (citing Town of Castle Rock, Colo. v. Gonzales, 545 U.S. 748, 764–65 (2005);

Heckler v. Chaney, 470 U.S. 821, 835 (1985)). Reading “shall” to impose a mandate in the first sentence

of § 1231(a)(2) would make the second sentence superfluous. DHS has thus long read the second

sentence to require the detention of terrorist and criminal aliens, and the first sentence to authorize

but not require the detention of other aliens. See Continued Detention of Aliens Subject to Final Orders of

Removal, 66 Fed. Reg. 56,967, 56,969 (Nov. 14, 2001); cf. Town of Castle Rock, 545 U.S. at 760–761

(2005). Consistent with that understanding, the Supreme Court has explained that Section 1231(a)

only “mandates detention of certain criminal aliens” during the removal period. Zadvydas v. Davis, 533

U.S. 678, 698 (2001) (emphasis added).

        Whether or not an alien is to be removed, nothing in section 1231(a) mandates their detention

unless they are within a narrow class of certain terrorist and criminal aliens. 8 U.S.C. § 1231(a)(2).

Texas’s advisory does not advance its cause in seeking an unwarranted TRO.


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Dated: January 25, 2021             Respectfully submitted,

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                                CERTIFICATE OF SERVICE
      I certify that a true and accurate copy of the foregoing document was filed electronically (via

CM/ECF) on January 25, 2021.


                                             /s/ Adam D. Kirschner
                                             ADAM D. KIRSCHNER




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